Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 1 of 26 PagelD# 7075

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Newport News Division

DAVID ANTHONY RUNYON,
Petitioner,

Vv. CIVIL NO. 4:15cv108
[ORIGINAL CRIMINAL NO. 4:08cr16]
UNITED STATES OF AMERICA,

Respondent.

MEMORANDUM ORDER

This matter comes before the court on Petitioner’s “First
Motion for Discovery and to Protect Petitioner’s Ability to Assert
Attorney-Client Privilege and Confidentiality of Work Product, and
Consolidated Memorandum of Law,” filed by Petitioner on March 21,
2022, ECF No. 670 (“Discovery Motion”), and on the issue of whether
the upcoming evidentiary hearing in this matter should he
bifurcated, see ECF No. 672 at 13-14. The court also addresses
counsel’s verbal request to return certain sealed documents by
commercial carrier.

For the reasons explained in this Memorandum Order, the court
DENIES the Discovery Motion and DIRECTS the parties to prepare for
the upcoming hearing in the manner described below. Counsel for
Petitioner are further DIRECTED to return the sealed jury selection

documents to the court in person as soon as practicable.
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 2 of 26 PagelD# 7076

I. PROCEDURAL HISTORY
In late April 2007, Petitioner shot and killed Cory Allen
Voss in Newport News, Virginia, pursuant to a murder-for-hire
conspiracy. On July 17, 2009, a jury found Petitioner guilty of
three counts related to this offense:

e Count One - Conspiracy to Commit Murder for Hire, in violation
of 18 U.S.C. § 1958(a);

e Count Two - Carjacking Resulting in Death, in violation of 18
U.S.C. §§ 2119 and 2; and

e Count Five - Murder with a Firearm in Relation to a Crime of

Violence, in violation of 18 U.S.C. §§ 924(c) (1), (3) (1)
and 2.

On August 27, 2009, the jury recommended that Petitioner be
sentenced to death on Counts One and Five, and life imprisonment
without possibility of release on Count Two. Accordingly, the court
entered judgment on December 4, 2009, sentencing Petitioner to
death on Counts One and Five, and life imprisonment without the
possibility of release on Count Two. The Fourth Circuit affirmed

Petitioner’s convictions and sentences on direct appeal. United

States v. Runyon, 707 F.3d 475, 521 (4th Cir. 2013), cert. denied,

574 U.S. 813 (2014).

On October 5, 2015, Petitioner filed a “Motion Under 28 U.S.C.
§ 2255 to Vacate, Set Aside, or Correct a Sentence” (“Motion to
Vacate”). ECF No. 478. The Motion to Vacate raised eighteen (18)
claims for relief. On January 19, 2017, the court entered an

Opinion denying the Motion to Vacate in its entirety. Petitioner

2
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 3 of 26 PagelD# 7077

filed a Motion to Alter or Amend the Judgment on February 16, 2017.
The court denied the Motion to Amend in a Memorandum Order dated
June 21, 2017.

On August 18, 2017, Petitioner filed a Notice of Appeal. The
Fourth Circuit decided the appeal by Opinion issued on December 23,
2020, and amended on February 12, 2021. In the Amended Opinion,
the Fourth Circuit affirmed the district court’s decision on the
Motion to Vacate except as to one issue, which is the sole issue
currently before the court: whether Petitioner’s trial counsel
“failed to provide him with effective assistance, in violation of
the Sixth Amendment, by failing to investigate adequately his brain
injury and potential mental illness and introduce such evidence in

mitigation during the penalty phase of trial.” United States v.

Runyon, 994 F.3d 192, 204 (4th Cir. 2021). On this issue, the
Fourth Circuit remanded for an evidentiary hearing to explore
whether Petitioner’s counsel was constitutionally inadequate. Id.
at 209.

On November 15, 2021, the court held a status conference to
ascertain how the parties wished to proceed. Thereafter, on
January 27, 2022, the court entered an Agreed Scheduling Order
setting discovery deadlines. ECF No. 657. Upon the United States’
motion, the court also issued an order on March 8, 2022, permitting
and directing Lawrence H. Woodward, Jr. and Stephen A. Hudgins,

Petitioner’s trial counsel, to respond to the United States’

3
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 4 of 26 PagelD# 7078

inquiries concerning Petitioner’s pending claim. ECF No. 666
(“Interview Order”).

At the request of the parties, the deadline to file motions
related to discovery disclosures was twice extended, and has now
passed. ECF Nos. 663, 665. Petitioner filed his Discovery Motion
on March 21, 2022, requesting certain documentary and testimonial
discovery. ECF No. 670. The United States responded in opposition,
on April 4, 2022, and suggested that the court bifurcate future
proceedings into two hearings, one to address each aspect of the
Strickland ineffective assistance of counsel standard. See ECF No.
672 at 12-13. Petitioner replied on April 11, 2022. ECF No. 673
(“Discovery Motion Reply”).

A status conference to resolve the outstanding matters was
set for April 13, 2022, with Petitioner to appear by video
conference. The conference could not go _ forward, and on
April 15, 2022, the court entered an order explaining as follows:

A status conference to resolve preliminary matters,

including discovery issues, and to set the evidentiary

hearing, was scheduled for April 13, 2022. Pursuant to

Petitioner’s written request and waiver of right to be

physically present, ECF No. 669, the court authorized

Petitioner to appear by video conference from USP Terre

Haute, where he [was] incarcerated, see ECF No. 671. On

the day the hearing was to take place, counsel for

petitioner and the United States were present in court

but, due to the Bureau of Prisons’ (“BOP”) technical

difficulties, Petitioner was unable to participate by

video as planned. Petitioner also had counsel with him

at the prison, but they were only able to connect to the
court by telephone, and it was not clear on the record
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 5 of 26 PagelD# 7079

that his attorney with him at the prison could even hear
some of the proceedings.

ECF No. 675 at 1-2.

For these reasons, the court declined to proceed with a
telephonic hearing, directed counsel to reschedule the hearing,
and explained that Petitioner must appear in person at the
rescheduled hearing. Id. at 2. The court also made clear that the
parties should be prepared to discuss “all outstanding matters
properly before the court,” such as the Discovery Motion, ECF No.
670, and the potential bifurcation of the upcoming evidentiary
hearing. ECF No. 675 at 2-3. The hearing was scheduled for July
20, 2022.

On July 11, 2022, Petitioner filed an Opposition to the United

States’ proposal for a bifurcated evidentiary hearing

(“Bifurcation Opposition”). ECF No. 682. He argues’ that
bifurcation “is unnecessary, . . . would be impracticable,

would inconvenience witnesses, . . . would slow down the hearing(s)
and ultimately the resolution of the case, and. . . would require

significantly more judicial resources.” Id. at 1-2.

The court held a hearing to address these outstanding
preliminary issues on July 20, 2022. Petitioner was present, in
person, along with his two attorneys of record in this matter. The
United States was likewise present through counsel of record.

During the hearing, the parties informed the court concerning the
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 6 of 26 PagelD# 7080

status of discovery, and the court heard argument on the
outstanding Discovery Motion and issue of bifurcation. This
Memorandum Order briefly reviews the court’s reasoning for its
Interview Order, ECF No. 666, resolves the Discovery Motion, and
provides instructions for the parties relating to scheduling the
upcoming evidentiary hearing, and the return of certain sealed
documents.
II. INTERVIEW ORDER

The court will briefly explain its reasoning for permitting
the United States to interview trial counsel without the
restrictions Petitioner requested in the Discovery Motion.

A. Background

At the November 15, 2021, status conference, the United States
represented that it wished to interview Woodward and Hudgins,
Petitioner’s former trial counsel, in preparation for the upcoming
evidentiary hearing. Hearing Transcript (ECF No. 653) at 12-13. It
also explained that it anticipated seeking a court order to permit
this inquiry. Id. Petitioner’s counsel did not voice any concern
with this possibility during the status conference.

On January 28, 2022, the United States filed a motion formally
requesting that the court “permit and direct former trial counsel
to provide a response to the United States” concerning Petitioner’s
pending habeas claim. ECF No. 658. On February 11, 2022, Petitioner

responded, requesting that the court narrow the substance of what

6
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 7 of 26 PagelD# 7081

trial counsel may disclose, and the circumstances under which they
may disclose it, arguing that the United States’ Motion was “vague,
overbroad, and ambiguous.” ECF No. 660 at 1. Petitioner
specifically requested that his current habeas counsel be present
for any interviews of former trial counsel, and that the inquiry
be conducted by deposition or interrogatory. Id. at 10, 14.

The United States replied on February 17, 2022, arguing that
the court should permit trial counsel to respond to Petitioner’s
claim without these restrictions. See ECF No. 662 at 1. On March
8, 2022, the court entered the Interview Order, “permit[ing] and
direct[ing]” former trial counsel “to respond to the inquiry of
the United States concerning Claim 6” of the Motion to Vacate
without the restrictions Petitioner sought. ECF No. 666. The United
States represents that the interviews have already occurred,
rendering Petitioner’s request to be present moot. See ECF No. 672
at 12-13.

In his Discovery Motion Reply, Petitioner takes issue with
the manner the United States proceeded with the interviews.
According to Petitioner, the United States “rush(ed]” to interview
trial counsel, mooting his request to be present at the interview.
ECF No. 673 at 9. He argues that the government should “disclose

the substance of the conversations with [trial counsel], including
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 8 of 26 PagelD# 7082

any notes and written documents or emails surrounding the meetings”
with each attorney. Id.?
B. Discussion

The court issued the Interview Order, ECF No. 666, without
the restrictions Petitioner requested because they were not
necessary to preserve Petitioner’s rights or develop the record in
this matter.

First, as licensed attorneys practicing in this federal court
and the courts of Virginia, Petitioner’s trial counsel are bound
by the Virginia Rules of Professional Conduct. See E.D. Va. Local
Civ. Rule 83.1(I) (“The ethical standards relating to the practice
of law in civil cases in this Court shall be Section II of Part
Six of the Rules of the Virginia Supreme Court as it may be amended
or [superseded] from time to time.”). Under these Rules, attorneys
have a duty of confidentiality under the attorney-client
privilege. See Va. R. Pro. Conduct 1.6(a). Accordingly,
Petitioner’s trial counsel, who are both experienced attorneys in
this court and the courts of Virginia, were capable of tailoring
their responses to the United States’ questioning to comply with
their ethical obligations to their former client, as well as to a

challenge of their ineffective assistance of counsel.

1 In point of fact, the government has already satisfied
this request. See infra Part III.

8
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 9 of 26 PagelD# 7083

Second, it is well-settled that “[a] petitioner who claims
ineffective assistance of counsel in a habeas petition waives the
protection of attorney-client privilege over information that is

relevant to those claims.” Courtade v. United States, 243 F. Supp.

3d 699, 702 (E.D. Va. 2017) (Smith, C.J.) (quoting LaBorde v.

Virginia, No. 1:10-cv-493, 2011 WL 2358510, at *2 (E.D. Va.
June 9, 2011) (Ellis, J.), and collecting cases). Though this
waiver is not limitless, it surely extends to communications
relevant to resolving Petitioner’s claim that his trial counsel
failed to adequately investigate and present mental health
mitigation evidence. See id. In his Claim Six, Petitioner directly
placed in issue the propriety of his trial counsels’ tactics
concerning their mental health mitigation strategy. The Interview
Order was appropriately tailored to communications concerning this
issue, permitting and directing trial counsel to respond to
inquiries concerning Petitioner’s Claim Six in his § 2255 petition
— not every aspect of his trial defense strategy. ECF No. 666.
Petitioner’s interests are further safeguarded by the provisions
of the Protective Order entered by the court on November 30, 2021.

See ECF No. 652.2

2 The Protective Order provides Petitioner several important
protections. Most relevant here is the following limitation: “The
affidavits and documents supplied by the Petitioner’s former
counsel shall be limited to use in this § 2255 proceeding, as shall
any interviews the government conducts with potential witnesses.”
ECF No. 652 at 2.
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 10 of 26 PagelD# 7084

Third, the United States could not prepare for the upcoming
evidentiary hearing without first exploring information relevant
to Claim Six with Petitioner’s trial counsel. To proceed otherwise
would be inefficient and ineffective for fleshing out the relevant
issues.

Finally, to the extent Petitioner’s counsel wished to be
present at any questioning by the United States, and have such
questioning conducted in a deposition setting or by interrogatory,
the court finds this unnecessary, as such is the purpose of the
evidentiary hearing. Petitioner has the United States’ notes from
its interviews with trial counsel, and will have the full ability
to cross-examine, object to, and further explore statements made
by trial counsel at the evidentiary hearing, during which a
thorough record will be developed. Therefore, lack of habeas
counsel’s presence at a preliminary interview of trial counsel by
the United States in no way hinders the necessary development of
the record at the evidentiary hearing and did not abridge
Petitioner’s rights on his claim of ineffective assistance of
counsel.

III. DISCOVERY MOTION
Petitioner filed his Discovery Motion on March 21, 2022, ECF

No. 670, and the United States responded in opposition on

10
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 11 of 26 PagelD# 7085

April 4, 2022, ECF No. 672. Petitioner replied on April 11, 2022.

Petitioner makes three requests:

(1)“the production of recorded communications between the
government and its trial experts, Drs. Paul Montalbano and
Raymond F. Patterson,” ECF No. 670 at 1;

(2)“an order allowing him to depose” these doctors “and to issue
subpoenas duces tecum for those experts to appear at [their]
deposition[s] with copies of their records related to
Petitioner’s case,” ECF No. 670 at 7; and

(3)an order directing the United States to “disclose the
substance of the conversations with each of [Petitioner’s]
trial attorneys, including any notes and written documents or
emails surrounding the meetings with each trial attorney,”
ECF No. 673 at 9.3
At the July 20, 2022, hearing, counsel for Petitioner

represented that the United States has already satisfied his first
and third requests, and therefore that the only outstanding issue
was Petitioner’s request for an order allowing for depositions of
Doctors Montalbano and Patterson and related documentary
discovery. Before turning to this issue, the court begins by
outlining the applicable standard for discovery in § 2255
proceedings.
A. Legal Standard for Habeas Discovery

“A habeas petitioner, unlike the usual civil litigant in

federal court, is not entitled to discovery as a matter of ordinary

3 Petitioner initially requested that habeas counsel be
present at these interviews. ECF No. 670 at 9. However, as
discussed above, the interviews have already occurred, rendering
this request moot. Petitioner made the request for related
documents in his Discovery Reply. ECF No. 673 at 9.

11
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 12 of 26 PagelD# 7086

course.” Bracy v. Gramley, 520 U.S. 899, 904 (1997). Instead, Rule

6 of the Rules Governing Section 2255 Proceedings for the United
States District Courts (“§ 2255 Rules”) provides that courts “may,
for good cause, authorize a party to conduct discovery under the
Federal Rules of Criminal Procedure or Civil Procedure, or in
accordance with the practices and principles of law.” § 2255 Rule
6(a). The requesting party “must provide reasons for the request,”
which “must . . . include any proposed interrogatories and requests
for admission, and must specify any requested documents.” Id.
at 6(b).

A movant demonstrates “good cause” where his “specific
allegations before the court show reason to believe that the
petitioner may, if the facts are fully developed, be able to
demonstrate that he is entitled to relief ... .” Bracy, 520 U.S.

at 908-909 (quoting Harris v. Nelson, 394 U.S. 286, 300 (1969)).

Read together, the Bracy standard and Rule 6 make clear that a
“habeas proceeding is not a fishing expedition,” and that
“generalized,” non-specific discovery requests should be denied.

See Teti v. Bender, 507 F.3d 50, 60 (1st Cir. 2007). Accordingly,

even after crossing the “good cause” threshold, “the scope and
extent of [] discovery is a matter confided to the discretion of
the District Court,” Bracy, 520 U.S. at 909, and litigants who
demonstrate “good cause” are not automatically entitled to the

full extent of discovery sought, see United States v. Roane, 378

12
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 13 of 26 PagelD# 7087

F.3d 382, 403 (4th Cir. 2004) (applying abuse-of-discretion
standard when affirming district court’s conclusion’ that
petitioners “had not shown good cause for the bulk of their
discovery requests”).

For instance, where a discovery request is “far too broad and
unspecific,” it may be reasonable for a district court to deny it
on the basis that the requested material “would add little or

nothing to the proceedings.” See United States v. Wilson, 901 F.2d

378, 382 (4th Cir. 1990). Denial is likewise appropriate where a
movant does not “state what he hope[s] to find” through his
requested discovery, or how it “would help him prosecute his

section 2255 motion.” See Smith v. United States, 618 F.2d 507,

509 (8th Cir. 1980) (affirming denial of request for various
records and “communications” on this basis). Ultimately, “(t]he
burden of demonstrating the materiality of information requested

is on the moving party.” Stanford v. Parker, 266 F.3d 442, 460

(6th Cir. 2001) (citing Murphy v. Johnson, 205 F.3d 809, 813-15

(Sth Cir. 2000)).

In this case, Petitioner must demonstrate “good cause” for

discovery material to proving his one remaining claim: that trial

counsel “failed to provide him with effective assistance, in
violation of the Sixth Amendment, by failing to investigate
adequately his brain injury and potential mental illness and

introduce such evidence in mitigation during the penalty phase of

13
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 14 of 26 PagelD# 7088

trial.” See Runyon, 994 F.3d at 204. Thus, any discovery requested

must bear on an aspect of the two-pronged Strickland inquiry. See

Strickland v. Washington, 466 U.S. 668, 687 (1984). Under this

framework, Petitioner must ultimately prove “(1) ‘that counsel’s
representation fell below an objective standard of
reasonableness,’ and (2) that any such deficiency was ‘prejudicial

to the defense.’” Garza v. Idaho, 139 S. Ct. 738, 743-44 (2019)

(internal citations omitted) (quoting Strickland, 466 U.S. at

687-88, 692).
B. Parties’ Positions
Petitioner seeks “an order allowing him to depose the
government’s mental health experts and to issue subpoenas duces
tecum for those experts to appear at [their] deposition|[s] with
copies of their records related to Petitioner’s case.” ECF No. 670
at 7. He submits that this’ discovery is relevant to the

“performance” and “prejudice” prongs of the Strickland inquiry and

“will lead to the discovery of admissible evidence ... .” See
id. at 7-8. He does not explain why such evidence cannot be gained
at the actual evidentiary hearing.

The United States argues that this discovery request should
be denied for several reasons. First, the government points out
that the two experts are rebuttal witnesses who never actually
testified at trial, “would have testified only in rebuttal at the

sentencing phase had a mental health defense been pursued,” and

14
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 15 of 26 PagelD# 7089

that the information they would have provided “was hardly
mitigating.” See ECF No. 672 at 10. Counsel for the government
also highlights that Petitioner “apparently never sought to
interview the government’s experts when preparing for filing his
Section 2255 petition and he does not explain why such measure is
necessary to address Claim 6, beyond the general claim that such
effort will lead to additional information.” Id. at 11.

In any event, the United States represents that “a deposition
prior to the completion of discovery and presentation of
[Petitioner’s] evidence at the hearing is simply premature.” Id.
It explains that granting Petitioner’s request now “would stymy
the government’s ability to present a robust case in rebuttal, if
its experts were locked into testimonial depositions without
exposure to the full scope of the evidence at issue.” Id. (emphasis
added). Finally, the United States argues that Petitioner’s
request for depositions should be denied as “unduly burdensome”
because he offers no explanation for why informal interviews will
not suffice, particularly considering “the likelihood of the
experts’ in-court testimony.” Id. at 11-12.

In his Discovery Motion Reply, Petitioner argues that his
request for depositions and subpoenas duces tecum related to the
United States’ rebuttal experts is warranted because responsive

information would be relevant to both prongs of the Strickland

inquiry. ECF No. 673 at 3-8. Petitioner admits that he has the

15
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 16 of 26 PagelD# 7090

expert reports of Doctors Montalbano and Patterson. Id. at 8.4
Petitioner also seemingly argues that because the ongoing
proceedings are already expensive, the United States’ argument
concerning costs of depositions should ring hollow. Id. at 3-5.
This argument from either party is not significant to the main
matter at issue here. Additionally, Petitioner argues that, even
if the experts will ultimately testify, “[w]ithout a discovery
deposition, there is no way to test and establish the experts’
credentials before the hearing, to narrow the areas of dispute
between various experts, or to streamline the expert testimony for
presentation at the hearing.” Id. at 7. The experts’ credentials
and the relevance and extent of their testimony is an issue for
the court to determine at the evidentiary hearing. Petitioner
concludes by highlighting the general principals, and liberal
nature, of discovery in civil cases, none of which involve habeas
corpus proceedings. See id. at 7-8.
C. Discussion

Petitioner has failed to demonstrate good cause for his
request to depose and seek documentary discovery from Doctors
Patterson and Montalbano. To demonstrate entitlement to discovery,

Petitioner must at least explain to the court how the request bears

4 Petitioner cites passages from the Fourth Circuit’s 2021
Runyon opinion, but these passages refer to the expert reports and
record evidence to which Petitioner already has full access. See
ECF No. 673 at 5-6; see also infra note 7 and accompanying text.

16

Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 17 of 26 PagelD# 7091

on the two relevant issues in these proceedings: whether trial
counsel’s “‘representation fell below an objective standard of
reasonableness,’ and ,” if so, whether “any such deficiency was
‘prejudicial to the defense.’” Garza, 139 S. Ct. at 743-44

(internal citations omitted) (quoting Strickland, 466 U.S. at

687-88, 692). Although he does a good job of reciting this
standard, Petitioner does very little to explain why the
depositions and subpoenas he seeks will actually help him apply
the facts of his case to it. He does even less to demonstrate the
need for additional factual development prior to the evidentiary
hearing.

In his Discovery Motion, he largely restates the nature of
the inquiry concerning his trial counsel’s performance, explaining
that he “believes that [the requested] depositions will lead to
the discovery of admissible evidence, and will therefore assist
him in proving his claims.” ECF No. 670 at 8. He also suggests
that the deposition testimony “could corroborate the mitigation
evidence submitted in support of [his] claim.” Id. (emphasis
added).

Petitioner attempts to bolster his argument in his Discovery
Motion Reply. As to the performance prong, Petitioner suggests
that the government mental health experts could provide
information relevant to trial counsel’s notice of Petitioner’s

prior head injuries. See ECF No. 673 at 5. However, the information

17
* Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 18 of 26 PagelD# 7092

Petitioner identifies - the fact of his prior injuries - was

contained in the expert reports. See Runyon 994 F.3d at 204-05

(cited in ECF No. 673 at 5). It is therefore unclear how or why
additional discovery would aid Petitioner in proving that they
occurred (and presumably) that trial counsel should have
investigated them further.

His explanation of relevance to the prejudice prong is
likewise weak.5 But once again, Petitioner merely speculates that
such evidence could be uncovered through the discovery he seeks,
and does little to explain why cross-examination of the experts at
issue would not suffice. He argues that, “[w]ithout a discovery
deposition, there is no way to test and establish the experts’
credentials before the hearing, to narrow areas of dispute between
various experts, or to streamline the expert testimony for
presentation at the hearing.” ECF No. 673 at 7. Yet, the experts’
reports have been, and are currently available for this purpose,

and Petitioner fails to explain why they are inadequate. See ECF

5 However, because the inquiry requires “reweigh[ing] the
evidence in aggravation against the totality of available
mitigating evidence,” the court is well aware that any testimonial
or documentary evidence casting doubt on the government’s experts’
reports would be relevant. See Wiggins v. Smith, 539 U.S. 510, 534
(2003).

18
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 19 of 26 PagelD# 7093

No. 519 (March 3, 2016, Order unsealing the doctor’s expert
reports) .®

As for the subpoenas duces tecum, Petitioner also speculates
as to why the experts’ documents would be informative, suggesting
that their informal notes “could be probative if at variance with
the formal typewritten reports provided to trial counsel before
the sentencing phase.” See ECF No. 670 at 8 (emphasis added).
Though this information requested may be relevant to the prejudice
inquiry, Petitioner’s suggestion that there is a “variance” is
simply speculation. And nothing stops Petitioner from exploring
whether the experts had reservations concerning their reported
opinions at the evidentiary hearing, without going on an
unnecessary discovery “fishing expedition.”

What is left then is Petitioner’s argument that pre-hearing
depositions and evidentiary discovery is necessary to streamline
the expert’s testimony at the upcoming hearing. Because Petitioner
has not identified any specific area in need of exploration prior
to the hearing, the court concludes that this concern is unfounded
and only delays and extends the process of getting to the
evidentiary hearing that the Fourth Circuit ordered on remand well

over a year ago.

6 Doctor Patterson’s Report is docketed as ECF No. 276, and
Dr. Montalbano’s Report is docketed as ECF No. 277.

19
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 20 of 26 PagelD# 7094

Ultimately, Petitioner fails to identify any specific area in
need of factual development, tied to the ultimate issues in these
proceedings, prior to the evidentiary hearing. Therefore, the
court concludes that Petitioner has not demonstrated good cause
for deposing the government’s mental health experts, or demanding
documents from them, particularly in light of the fact that
Petitioner already has access to their trial reports.’ Petitioner’s
request is “far too broad and unspecific,” leading the court to
believe that granting it “would add little or nothing to the

proceedings.” See Wilson, 901 F.2d at 382; see also Bracy, 520

U.S. at 909 (“the scope and extent of [habeas] discovery is a
matter confided to the discretion of the District Court”).
Accordingly, Petitioner’s Discovery Motion, ECF No. 670, is

DENIED.

7 See supra note 6 and accompanying text. The court further
notes that Petitioner suggests that the Fourth Circuit
“contemplated that evidence from experts regarding the information
they gave counsel might be necessary to evaluating the performance
prong for this reason.” ECF No. 682 at 6. This citation to the
Fourth Circuit’s opinion is a bit misleading, as the Circuit Court
was discussing the potential value of what Petitioner’s trial
expert’s may have told counsel. See Runyon, 994 F.3d at 204-05
(referencing communications with Drs. Merikangas and Mirsky).
These experts would undoubtedly be relevant to the performance
issue because they could explain what they communicated to trial
counsel, and therefore inform the court’s assessment of how counsel
should have responded. See also supra note 4 and accompanying text.

20

Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 21 of 26 PagelD# 7095

IV. BIFURCATION OF PROCEEDINGS
The parties disagree about whether the upcoming evidentiary
hearing should be bifurcated into to two stages, one for each

aspect of the Strickland inquiry.

A. United States’ Position
The United States has suggested bifurcating the upcoming

evidentiary hearing to address each prong of the Strickland test

independently. It argues that “it is in the best interest of
judicial economy” to “first take evidence as to whether trial
counsel’s performance was in fact ineffective at the time of
trial,” as doing so may obviate the need for a full evidentiary
hearing. ECF No. 672 at 13.

According to the United States, this strategy is particularly
prudent considering a key witness’s medical condition. Id. at 14.
It also explains that this will allow the parties to “more
efficiently proceed with the prejudice investigation, and the
cumbersome efforts to coordinate schedules with the various expert
witnesses for both sides, without risking the loss of material
evidence.” Id.

B. Petitioner’s Position

Petitioner briefly addressed the bifurcation issue in his
Discovery Motion Reply. ECF No. 673 at 6-9. He argues that the
appropriate solution to the potential unavailability of a witness

is to depose him, rather than to bifurcate the proceedings. See

21
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 22 of 26 PagelD# 7096

id. at 9. He further argues that “the distance between Strickland’s

two prongs is often not far,” making bifurcation of the hearing
“impractical.” Id. at 6. Petitioner elaborates on his stance in
his Bifurcation Opposition. ECF No. 682.

Basically, Petitioner submits that “categorizing questioning
along strict performance or prejudice lines would be burdensome,
cumbersome, and highly inefficient.” Id. at 2. He states that there
is “no appreciable purpose” for “artificially cabin[ing] witnesses

and evidence” based on the two Strickland prongs. Id. Petitioner

continues by arguing that additional witnesses are necessary to
contextualize the documentary evidence related to the performance
inquiry. See id. at 4. Specifically, he argues that because he
“has alleged that counsel’s investigation was unreasonable, the
[c]ourt must ‘consider not only the quantum of evidence already
known to counsel, but also whether the known evidence would lead
a reasonable attorney to investigate further.’” Id. (quoting
Wiggins, 539 U.S. at 527). Thus, the court must examine “the
evidence in counsel’s possession for any ‘red flags’ that
‘reasonable counsel should have at least explored.’” Id. at 5

(quoting Williams v. Stirling, 914 F.3d 302, 315 (4th Cir. 2019)).

While this is a correct statement of the law, it does not mean

that every witness is necessary to explore both performance and

22
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 23 of 26 PagelD# 7097

prejudice.® In sum, Petitioner argues that “the overlap in both
evidence and witnesses required to evaluate the performance and
prejudice prongs of {his] claims” render bifurcation
inappropriate. Id. at 9.
C. Discussion
Bifurcation of the upcoming proceedings into two stages to

address each of the Strickland prongs is not the appropriate path

forward. The arguments offered in Petitioner’s briefing and at the
July 20, 2022, hearing have convinced the court that cabining the
proceedings in this way would prove inefficient.

However, the court must still organize “the mode and order of
examining witnesses and presenting evidence” in this matter to
“make those procedures effective for determining the truth,”
“avoid wasting time,” and “protect witnesses from harassment or
undue embarrassment.” See Fed. R. Evid. 611(a) (explaining that
the court “should exercise reasonable control” over these
procedures to achieve these goals). To this end, the hearing should
be organized to focus on eliciting the testimony of lay fact

witnesses first, before delving into expert testimony, to the

8 For instance, Petitioner has not explained how the
Government’s rebuttal mental health experts - who almost certainly
would not have communicated with Petitioner’s trial counsel
outside the context of their expert reports - would be relevant
witnesses for the performance inquiry. Thus, the Circuit Court’s
discussion does not necessarily mean that bifurcation is
inappropriate.

23
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 24 of 26 PagelD# 7098

extent practicable. All witnesses will be permitted to testify

concerning information relevant to either Strickland prong when

they are called, although the overall focus will be to address the
performance issue before the prejudice issue.

With these overarching goals in mind, to the extent they wish
to call witnesses in these categories, the parties should present
their witnesses in the following order:

(1)The first group of witnesses that should be called are
Petitioner’s former trial counsel. These witnesses will
inform the court about key information concerning the
Strickland performance prong. Namely, what they knew, what
they investigated (or did not investigate), why they did or
did not investigate particular issues further, and their
overall mitigation strategy.

(2) The next set of witnesses should be those laypersons who have
relevant knowledge of what trial counsel was informed of, and
what trial counsel could have learned had they asked the
witness about Petitioner’s relevant mental health history.°

(3)The third set of witnesses should be experts who actually
informed trial counsel of matters relevant to Petitioner’s
Claim 6.

(4) The fourth group to be presented are experts who possessed
but did not notify trial counsel about relevant information,
but could have if asked during trial. These are the experts
most likely to bear on both prongs of the Strickland inquiry.

(5) Fifth, any other “performance” prong witnesses may be called.

(6) Finally, lay and expert witnesses with relevant information
bearing only on the issue of prejudice may be offered.

9 Counsel offered Petitioner’s wife as an example at the
July 20 hearing.

24
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 25 of 26 PagelD# 7099

After considering these instructions, the parties should
exchange lists of the witnesses they intend to call, and exhibits
they intend to offer, no later than August 29, 2022. The parties
shall then meet and confer, before September 16, 2022, to discuss
a potential agreed schedule for the evidentiary hearing, to include
the number of days the hearing will last, with witnesses and
exhibits to be presented. If the parties reach such an agreement
concerning the presentation of evidence and argument, they should
contact the Courtroom Deputy to set the hearing for dates available
on the court’s calendar. If the parties are unable to reach such
an agreement by September 16, 2022, then they shall notify the
Courtroom Deputy to this effect.

V. RETURN OF JURY SELECTION DOCUMENTS

At the July 20, 2022, hearing, counsel for Petitioner sought
permission to return jury selection records to the court by
commercial carrier. The court previously allowed the parties by
counsel to obtain these sealed documents after imposing
significant restrictions and requirements for their return. See
ECF No. 649 at 2-4 (discussing the history of these documents).

Given their highly sensitive nature, and their sealed status,
the court concludes that shipping the records by commercial carrier
would be inappropriate. Therefore, counsel may not ship the

documents to the court, but instead must deliver them in person to

25
Case 4:08-cr-00016-RBS-DEM Document 685 Filed 07/28/22 Page 26 of 26 PagelD# 7100

the Jury Clerk and sign all appropriate acknowledgments as directed

by the court.

Specifically, when counsel return the documents, they must
provide the certification required by this court’s earlier Order:

[U]pon completion of the habeas litigation, with the
return to the court of [the Records], [counsel] will be
required to submit “a sworn statement that the [Records]
have been maintained under seal, and no copies thereof
of any nature - paper, electronic, or otherwise - have
been made or exist” and that “no juror contact has been
made, directly or indirectly, through someone else, or
by any means.”

ECF No. 481 at 6 (emphasis added) (quoting ECF No. 475 at 16).
VI. CONCLUSION

For the foregoing reasons, Petitioner’s Discovery Motion, ECF
No. 670, is DENIED, and bifurcation of the evidentiary hearing,
ECF No. 672 at 13-14, is DENIED. The parties are DIRECTED to
discuss a potential agreed schedule for the upcoming evidentiary
hearing and advise the court, as explained in this Memorandum
Order. Counsel are further DIRECTED to return the sealed jury
selection documents to the court, in person, as soon as
practicable. The Clerk is DIRECTED to forward a copy of this
Memorandum Order to counsel for Petitioner and the United States

Is} -CRY

IT IS SO ORDERED. Rebecca Beach Smith
Senior United States District Judge

Attorney at Newport News.

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

July a6 , 2022
26
